
		
OSCN Found Document:RE SUSPENSION OF CREDENTIALS OF CERTIFIED AND REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
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				RE SUSPENSION OF CREDENTIALS OF CERTIFIED AND REGISTERED COURTROOM INTERPRETERS2023 OK 16Decided: 02/21/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 16, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

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RE: Suspension of Credentials of Certified and Registered Courtroom


ORDER


The Oklahoma Board of Examiners of Certified Courtroom Interpreters has recommended to the Supreme Court of the State of Oklahoma the suspension of the credentials of each of the Oklahoma Registered Courtroom Interpreters listed on the attached Exhibit for failure to comply with the annual renewal requirements for 2023.

Pursuant to 20 O.S., Chapter 23, App. II, Rule 18(c), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date.

IT IS THEREFORE ORDERED that the credentials of each of the interpreters named on the attached Exhibit is hereby suspended effective February 21, 2023.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 21ST day of FEBRUARY, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


Exhibit A


	
		
			
			Name
			
			
			Reason
			
		
		
			
			Gisele Jones
			
			
			2023 Renewal Fees
			
		
		
			
			Monique Joseph
			
			
			2022 Continuing Education

			and 2023 Renewal Fees
			
		
		
			
			Manuel Munoz Maldonado
			
			
			2022 Continuing Education
			
		
		
			
			Thao Nguyen-Pham
			
			
			2022 Continuing Education
			
		
		
			
			Annette Salinas
			
			
			2023 Renewal Fees
			
		
	


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